          Case 1:21-cr-00642-JDB Document 79 Filed 04/18/23 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :       Case No.: 1:21-cr-00642-JDB-1
               v.                            :
                                             :
DARRELL NEELY,                       :
                                             :
                      Defendant.             :


                                 NOTICE OF APPEARANCE

       The United States of America, through undersigned counsel, hereby informs the Court

that Assistant United States Attorney Kyle R. Mirabelli is entering his appearance in the above-

captioned matter as counsel for the United States.

                                                     Respectfully submitted,

DATED: April 18, 2023                                MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar No. 481052

                                             By:     /s/ Kyle R. Mirabelli
                                                     KYLE R. MIRABELLI
                                                     N.Y. Bar No. 5663166
                                                     Assistant United States Attorney
                                                     601 D Street, NW
                                                     Washington, D.C. 20001
                                                     (202) 252-7884
                                                     kyle.mirabelli@usdoj.gov
